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                                                   #:1958


 1                                 UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
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 3                                                    ****
     UNITED STATES OF AMERICA,                       )
 4                                                   )
                             Plaintiff,              )
 5                                                   )     CASE NO. 2:24-CR-00091-ODW
     V.                                              )
 6                                                   )
 7   ALEXANDER SMIRNOV,                              )
                                                     )
 8                           Defendant,              )     [PROPOSED] ORDER
                                                     )
 9
             The Court has read and considered Defendant's Second Ex Parle Motion for (1)
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11   Continuance of Trial Date and (2) Findings of Excludable Time Periods Pursuant to Speedy Trial

12   Act, which Defendant filed on November 4, 2024. The Court has also considered the government's

13   opposition.
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             The Court hereby finds that the Ex Parle Motion, which this Court incorporates by
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     reference into this Order, demonstrates facts that support a continuance of the trial date in this
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     matter from December 3, 2024 to April 1, 2025, and provides good cause for a finding of
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     excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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19          The Court further finds that: (i) the ends of justice served by the continuance outweigh the

20   best interest of the public and defendant in a speedy trial; (ii) failure to grant the continuance would
21   be likely to make a continuation of the proceeding impossible, or result in a miscarriage of justice;
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     and (iii) failure to grant the continuance would unreasonably deny defendant continuity of counsel
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     and would deny defense counsel the reasonable time necessary for effective preparation, taking
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     into account the exercise of due diligence.
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 1          Additionally, and for the reasons stated in the Ex Parte Motion, the Court finds that certain
 2   periods of time should be excluded under 18 U.S.C. § 3161(h)(l), pertaining to the transfer ohhis
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     case and the transport of the Defendant to this District, as well as the specific factual circumstances
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     presented by this case.
 5
            THEREFORE, FOR GOOD CAUSE SHOWN:
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 7           1. The trial in this matter is continued from December 3, 2024 to April 1, 2025 at 9:00 a.m.

 8   The Court will set a pretrial conference if necessary.

 9          2. The time period :from December 3, 2024 to April 1, 2025, inclusive, is excluded in
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     computing the time within which the trial must commence, pursuant to 18 U.S.C. §§
11
     3161 (h)(7)(A), (h)(7)(B)(i), and (B)(iv).
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            3. Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial
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     Act dictate that additional time periods are excluded :from the period within which trial must
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15   commence. Moreover, the same provisions and/or other provisions of the Speedy Trial Act may

16   in the future authorize the exclusion of additional time periods from the period within which trial

17   must commence.
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            4. The Court reopens the deadline for pretrial motions and motions in limine. The parties
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     are to meet and confer to establish new deadlines based upon the April 1, 2025, trial date.
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            IT IS SO ORDERED.
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            DATE                                         HONORABLE OTIS D. WRIGHT II
24                                                       UNITED STATES DISTRICT JUDGE
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